     Case 1:04-cv-02462-WSD       Document 470     Filed 04/02/10    Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 KRISTY BRYANT YULE, as
 Temporary Administrator of the
 Estate of MICHAEL BRYANT,
 JOHN DRAKE, BECKY KELLEY,
 AND HERBERT LOWE
                           Plaintiffs,
       v.                                             1:04-cv-2462-WSD
 VERNON JONES, MARILYN
 BOYD DREW, MORRIS
 WILLIAMS and RICHARD
 STOGNER in their individual
 capacities and in their official
 capacities,
                           Defendants.


                                    JUDGMENT

      This action came on for trial before the Court and a jury, Honorable William

S. Duffey, Jr., District Judge, presiding, and the issues having been duly tried and

the jury having duly rendered its verdict,

      IT IS HEREBY ORDERED AND ADJUDGED that Plaintiff Kristy

Bryant Yule, as Temporary Administrator to the Estate of Michael Bryant, recover

$42,000.00 against Defendant DeKalb County, $15,750.00 against Defendant

Vernon Jones, $31,500.00 against Defendant Marilyn Boyd Drew, and $15,750.00

against Defendant Richard Stogner;
      Case 1:04-cv-02462-WSD      Document 470     Filed 04/02/10   Page 2 of 2




       IT IS HEREBY FURTHER ORDERED AND ADJUDGED that Plaintiff

John Drake recover $32,000.00 against Defendant DeKalb County, $12,000.00

against Defendant Vernon Jones, $24,000.00 against Defendant Marilyn Boyd

Drew, and $12,000.00 against Defendant Richard Stogner;

        IT IS HEREBY FURTHER ORDERED AND ADJUDGED that

Plaintiffs Becky Kelley and Herbert Lowe take nothing;

       IT IS HEREBY FURTHER ORDERED AND ADJUDGED that this

action be, and the same hereby, is DISMISSED.

       Dated at Atlanta, Georgia, this 2nd day of April, 2010.


                                       JAMES N. HATTEN, CLERK

                                       By: S/ Jessica Birnbaum
                                            Deputy Clerk
Filed in the Clerk’s Office
April 2, 2010
James N. Hatten, Clerk
By: S/ Jessica Birnbaum
        Deputy Clerk




                                         -2-
